         Case 13-10049-TPA UNITED
                            Doc 124STATES
                                     Filed 06/30/18
                                              BANKRUPTCY        07/01/18 00:49:37FILED
                                                        EnteredCOURT                Desc
                           Imaged Certificate of Notice  Page  1 of 2            6/28/18 12:09 pm
                          W ESTERN DISTRICT OF PENNSYLVANIA                      CLERK
                                                                                  U.S. BANKRUPTCY
IN RE:                                                                            COURT - :'3$
  MICHAEL SCOTT SKINNER                              Case No.13-10049TPA
ALICIA KAY SKINNER
            Debtor(s)
   Ronda J. Winnecour, Trustee
    Movant                                           Chapter 13
      vs.
   MICHAEL SCOTT SKINNER
ALICIA KAY SKINNER                                                  115
                                                     Document No.__________

                Respondents

                           ORDER TO STOP PAYROLL DEDUCTIONS

  AND NOW, this          28th _____ day of   June        18 it is hereby ORDERED, ADJUDGED,
                                                     , 20__,
and DECREED that,
                                   Cincinnati Insurance Company
                                       Attn: Payroll Manager
                                               Pob 187
                                     New Bethlehem,PA 16242

is hereby ordered to immediately terminate the attachment of the wages of ALICIA KAY

SKINNER, social security number XXX-XX-9505. No future payments are to be sent to Ronda

J. Winnecour, Trustee on behalf of ALICIA KAY SKINNER.




FURTHER ORDERED:



                                                    BY
                                                     Y THE
                                                        H COURT:
                                                           COURT
                                                               T:

cc: Debtor(s)                                       ______________________________________________
                                                    ________________________________
    Debtor(s) Attorney
    Debtor(s) Employer                              UNITED STATES BANKRUPTCY JUD
                                                                             JUDGE
           Case 13-10049-TPA               Doc 124 Filed 06/30/18 Entered 07/01/18 00:49:37                                Desc
                                          Imaged Certificate of Notice Page 2 of 2
                                              United States Bankruptcy Court
                                            Western District of Pennsylvania
In re:                                                                                                     Case No. 13-10049-TPA
Michael Scott Skinner                                                                                      Chapter 13
Alicia Kay Skinner
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0315-1                  User: llea                         Page 1 of 1                          Date Rcvd: Jun 28, 2018
                                      Form ID: pdf900                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 30, 2018.
db             +Michael Scott Skinner,    P.O. Box 10034,  Erie, PA 16514-0034
jdb            +Alicia Kay Skinner,    8559 Kirsch Road,  Erie, PA 16510-5011

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 30, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 28, 2018 at the address(es) listed below:
              Andrew F Gornall    on behalf of Creditor    M&T Bank andygornall@latouflawfirm.com
              Andrew F Gornall    on behalf of Creditor    M&T BANK andygornall@latouflawfirm.com
              Ann E. Swartz    on behalf of Creditor    M&T Bank ecfmail@mwc-law.com, ecfmail@ecf.courtdrive.com
              Celine P. DerKrikorian    on behalf of Creditor    M&T Bank ecfmail@mwc-law.com
              James Warmbrodt     on behalf of Creditor    M&T BANK bkgroup@kmllawgroup.com
              James Warmbrodt     on behalf of Creditor    M&T Bank bkgroup@kmllawgroup.com
              Joshua I. Goldman    on behalf of Creditor    M&T BANK bkgroup@kmllawgroup.com
              Kevin T. McQuail    on behalf of Creditor    M&T Bank ecfmail@mwc-law.com
              Marisa Myers Cohen    on behalf of Creditor    M&T Bank mcohen@mwc-law.com
              Michael S. Jan Janin    on behalf of Joint Debtor Alicia Kay Skinner mjanjanin@quinnfirm.com,
               knottingham@quinnfirm.com;mboni@quinnfirm.com;mgleba@quinnfirm.com;mmbquinnbankruptcy@gmail.com;m
               myers@quinnfirm.com
              Michael S. Jan Janin    on behalf of Debtor Michael Scott Skinner mjanjanin@quinnfirm.com,
               knottingham@quinnfirm.com;mboni@quinnfirm.com;mgleba@quinnfirm.com;mmbquinnbankruptcy@gmail.com;m
               myers@quinnfirm.com
              Office of the United States Trustee    ustpregion03.pi.ecf@usdoj.gov
              Ronda J. Winnecour    cmecf@chapter13trusteewdpa.com
                                                                                              TOTAL: 13
